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 4                         IN THE UNITED STATES DISTRICT COURT

 5                            EASTERN DISTRICT OF CALIFORNIA

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 7   GERALD CARLIN, JOHN RAHM, PAUL                 CASE NO. 1:09-cv-430 AWI-EPG
     ROZWADOWSKI and DIANA WOLFE,
 8   on behalf of themselves and all others
     similarly situated,
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                      Plaintiffs,
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13                                                  ORDER RE: PLAINTIFFS’ DISCOVERY
                                                    MOTION
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15
           v.
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     DAIRY AMERICA AND                              (Docs. 295, 300, and 330)
19   CALIFORNIA DAIRIES;
20                    Defendants.
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           I.     Introduction
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           On April 21, 2016, Plaintiffs filed a Discovery Motion seeking to permit the use of a
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     spreadsheet (DA000154), that Defendant Dairy America (“Dairy America” or “Defendant”)
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 1   previously produced in discovery, but is seeking to “clawback” pursuant to a protective order.1

 2   (Doc. 295). The parties also requested that the Court resolve a discovery dispute involving the

 3   length of time of Doug White’s deposition, a third party to this litigation. The parties filed a joint

 4   statement regarding discovery dispute on April 26, 2016, and supplemental briefing on July 22,

 5   2016. (Docs. 300 and 330). The Court held hearings on May 20, 2016 and July 29, 2016. (Docs.

 6   318, 319, 234, and 335). Upon a review of the pleadings and the arguments, and for the reasons

 7   given on the record during oral argument, Plaintiffs’ Discovery Motion is GRANTED IN PART.

 8            II.      Discussion

 9                     A. The Spreadsheet

10            At issue in this dispute is a document, referred to as the “2005-2006” spreadsheet, which

11   Dairy America previously produced in discovery. (Doc. 305). After the production, Dairy

12   America attempted to withdraw the document subject to a clawback provision in the protective

13   order. (Doc. 129, ¶ 11; Doc. 154, ¶ 3). It argues that the document is protected by the attorney-

14   client privilege and work product doctrine. It further contends that there has been no waiver of

15   these protections because the document was inadvertently disclosed during discovery, and they

16   attempted to claw the spreadsheet back as soon as the mistaken disclosure became apparent.

17   (Doc. 300-2, pgs.7- 24).

18            Plaintiffs contend that the document is critical to this case because it includes pricing data

19   that was requested by the USDA’s National Agricultural Statistics Service (“NASS”), but never

20   provided to NASS. Plaintiffs claim that the underlying data has not been otherwise produced in
21   discovery and is no longer available outside of this spreadsheet. Plaintiffs argue that the

22   spreadsheet is not covered under the above protections, and even if it were, Dairy America

23   waived these protections when it initially produced the document, and when Defendant’s witness,

24   Jean McAbee, testified to the contents of the spreadsheet during a deposition. (Doc. 300-1, pgs. 7-

25   16). Moreover, Plaintiffs contend that the attorney-client privilege does not apply because the

26   spreadsheet only contains factual data—not communications requesting or providing legal advice.
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      The Court granted permission to file the instant discovery motions after the parties participated in several informal
28   discovery conferences involving several issues. (Docs. 241, 242, and 299).
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 1   Finally, even if the spreadsheet were attorney work product, Plaintiffs are entitled to use it

 2   because they have a substantial need for the information, and cannot obtain an equivalent by other

 3   means. (Id. at 27-31; Doc. 330, pgs. 2-15).

 4          Plaintiffs rely on Fed. R. Civ. P. 26(b)(3)(A) which provides as follows:

 5          A. Documents and Other Tangible Things:
             Ordinarily, a party may not discover documents and tangible things that are prepared in
 6          anticipation of litigation or for trial by or for another party or its representative (including
 7          the other party’s attorney, consultant, surety, indemnitor, insurer, or agent). But, subject to
            Rule 26(b)(4), those materials may be discoverable if:
 8
            (i)     they are otherwise discoverable under Rule 26(b)(1); and
 9          (ii)    the party shows that it has substantial need for the materials to prepare its case and
                    cannot, without undue hardship, obtain their substantial equivalent by other means.
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            In an effort to resolve this conflict, at the hearing on May 20, 2016, the Court ordered that
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     that the parties meet and confer, and that Dairy America attempt to produce a reconstituted
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     spreadsheet using the underlying factual data it had used at the time the spreadsheet was created,
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     but based on legal assumptions identified by Plaintiffs wherever relevant. In this way, the Court
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     attempted to extricate any legal assumptions that would constitute attorney-work product while
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     providing the underlying factual data, which appears to be critical and discoverable. Dairy
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     America committed to do so. However, at a second hearing on July 29, 2016, Dairy America’s
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     attempt at recreation of such a spread sheet was largely blank and did not contain the majority of
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     the underlying factual data that appears in the disputed spreadsheet. Defendant provided many
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     reasons why it was unable to produce the underlying data from the relevant time period.
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            After consideration of the record and oral argument by counsel at two hearings, the Court
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     finds that the information contained in the spread sheet is protected by the attorney work product
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     doctrine because the document was created after Dairy America had been notified of the
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     possibility of litigation, counsel was consulted to aid in potential litigation, and the creation of the
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     spreadsheet was based on counsel’s request for certain data to evaluate potential liability, as well
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     as to assess damages. As explained more fully on the record at the hearing on July 29, 2016, the
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     Court also finds that Dairy America did not waive this protection because the disclosure was
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 1   inadvertent.2 See, Fed. R. Evid. 502(b)(1). Mr. English, Dairy America’s counsel indicates the

 2   spreadsheet was mistakenly attached to other unprivileged documents. Declaration of Charles

 3   English, dated April 13, 2016, ¶¶ 2-11. (Doc. 300-2, pgs. 26-27). Mr. English quickly attempted

 4   to clawback the document once the error became apparent. Fed. R. Evid. 502(b)(3); Fed. R. Civ.

 5   P. 26(b)(5)(B). Similarly, a review of the deposition transcript of Jean McAbee, reveals that her

 6   testimony was given due to a misunderstanding about how the spreadsheet was presented during

 7   the deposition, because the spreadsheet was attached to a letter to NASS. (Doc. 300-2, pgs. 44-

 8   47).

 9           Notwithstanding the above, the Court finds that the spreadsheet contains data that are

10   highly relevant to the Plaintiffs’ assessment of liability and damages, and are not available

11   through other means. Even though the data in this spreadsheet do not appear to have been

12   reported to NASS, they are highly relevant to computation of damages during that time period.

13   Moreover, Dairy America’s inability to re-create the underlying factual data contained in the

14   disputed spreadsheet establishes that the data are not otherwise available, or at the very least that

15   an undue hardship exists in obtaining substantially equivalent information. See, Fed. R. Civ. P.

16   36(b)(3)(A)(ii) (A party may not discover documents prepared in anticipation of trial, unless “the

17   party shows that it has substantial need for the materials to prepare its case and cannot, without

18   undue hardship, obtain their substantial equivalent by other means.”) As discussed extensively on

19   the record, it thus appears that the disputed spreadsheet is the only source of this particular pricing

20   data for the covered time period.
21           Accordingly, Defendant’s request to clawback the document based on attorney work

22   product is denied. Plaintiffs may use the spreadsheet in the course of this litigation, however, the

23   exact scope of its use will be determined by Judge Ishii at the time of trial.

24           Finally, the Court is not persuaded by Defendant’s argument that the spreadsheet falls

25   under the attorney-client privilege.

26           As a preliminary matter, the parties largely rely on state law to evaluate the attorney-client
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      Federal law applies to waiver of a privilege. Bittaker v. Woodford, 331 F. 3d 715, 726 (9th Cir. 2003) (“When the
28   court is a federal court, the scope of the waiver is a matter of federal law.”)
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 1   privilege. 3 (Doc. 300-1 pgs. 29-31; Doc. 300-2, pgs. 18-20). However, under Federal Rules of

 2   Evidence 501, federal common law generally governs claims of privilege. “But in a civil case,

 3   state law governs privilege regarding a claim or defense for which state law supplies the rule of

 4   decision.” Fed. R. Evid. 501. In this case, both state and federal claims are alleged.4 The Ninth

 5   Circuit has held that when the same evidence relates to both federal and state law claims, federal

 6   privilege law governs. Wilcox v. Arpaio, 753 F. 3d 872, 876 (9th Cir. 2014). See also, Agster v.

 7   Maricopa County, 422 F. 3d 836. 839-840 (9th Cir. 2005) (“Where there are pendant state law

 8   claims present, the federal law of privilege applies.”).

 9           In the Ninth Circuit, the attorney-client privilege protects confidential information

10   between a client and an attorney from disclosure, “(1) Where legal advice of any kind is sought,

11   (2) from a professional legal adviser in his capacity as such, (3) the communications relating to

12   that purpose, (4) made in confidence (5) by the client, (6) are at his instance permanently

13   protected, (7) from disclosure by himself or by the legal adviser, (8) unless the protection be

14   waived.” United States v. Graf, 610 F. 3d 1148, 1156 (9th Cir. 2010). It is worth noting that

15   California attorney-client privilege law is substantially similar. Cal. Evid. Code §§ 950 and 952.

16           Here, the spreadsheet consists of factual data maintained by Dairy America, albeit data

17   that was gathered based on an attorney’s request. The document does not contain

18   communications seeking or giving legal advice. The spreadsheet is merely a compilation of data

19   related to sales and pricing that was transmitted to an attorney for a work-product purpose. It

20   does not contain any request from a client, nor any advice--or indeed any response at all--from an
21   attorney. Accordingly, the document is not protected under the attorney-client privilege.

22                    B. Doug White’s Deposition

23           After considering the parties’ arguments and briefing (Doc. 330), and as discussed

24   extensively on the record during oral argument, Doug White shall be deposed for two, seven-hour

25   days. Plaintiffs will depose Mr. White on the first day. Defendants shall depose Mr. White on

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      Plaintiffs cite to federal and state law while Defendant cites only to state law.
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      The operative causes of action in this case are state law claims of negligent and intentional misrepresentation
     against Dairy America and California Dairies, and a federal claim of conspiracy to commit RICO pursuant to 18
28   U.S.C.§1962 against California Dairies. (Docs. 245, 303, 317).
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 1   the second day. Defendants may not use any of Plaintiffs’ unused deposition time to complete

 2   their depositions.

 3          III.    Conclusion

 4          For the reasons more fully set forth on the record on May 20 and July 29, 2016, and as

 5   outlined above, Plaintiff’s Motion for Discovery (Doc. 295) is GRANTED IN PART.

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     IT IS SO ORDERED.
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 8      Dated:     August 15, 2016                           /s/
                                                        UNITED STATES MAGISTRATE JUDGE
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